                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

INFINIUM BUILDERS, LLC, ET AL.,                   )
                                                  )
        Plaintiffs,                               )
                                                  )
v.                                                )      Civil No. 3:23-cv-00924
                                                  )      Judge Trauger
METROPOLITAN GOVERNMENT OF                        )
NASHVILLE & DAVIDSON COUNTY,                      )
                                                  )
        Defendant.                                )


                                          ORDER

        It is hereby ORDERED that the initial case management conference scheduled for

February 26, 2024 is RESET for Thursday, October 19, 2023 at 4:00 p.m.

        It is so ORDERED.



                                                  ________________________________
                                                  ALETA A. TRAUGER
                                                  U.S. District Judge




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